         Case 1:21-mj-00034-ZMF Document 1-1 Filed 01/11/21 Page 1 of 6




                                   STATEMENT OF FACTS

        On January 6, 2021, your affiant, Michael Attard was on duty and performing my official
duties as a Special Agent. Specifically, I am assigned to the Counter-terrorism squad tasked with
investigating criminal activity in and around the Capitol grounds. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws. The U.S. Capitol is secured
24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and
temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people with
appropriate identification are allowed access inside the U.S. Capitol. On January 6, 2021, the
exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Vice President Mike Pence was present and presiding in
the Senate chamber.

        With the joint session underway and with Vice President Mike Pence presiding, a large
crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside. At approximately
2:00 p.m., certain individuals in the crowd forced their way through, up, and over the barricades
and officers of the U.S. Capitol Police, and the crowd advanced to the exterior façade of the
building. At such time, the joint session was still underway and the exterior doors and windows of
the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted
to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,
individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows.
Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 6, 2021, the subject who identified himself to a New York Post reporter in an
interview was profiled in a New York Post article titled, “NYC man says he stormed US Capitol
to fight stolen election.” In the video interview, “Aaron” explained his actions by stating: “the
election was stolen”, “we were cheated”, and “I don’t think 75 million people voted for Trump. I
          Case 1:21-mj-00034-ZMF Document 1-1 Filed 01/11/21 Page 2 of 6




think it was close to 85 million”. “Aaron” continued to tell the interviewer that he traveled from
Brooklyn, NY. The New York Post video interview was conducted inside the Capitol Building,
during which “Aaron” is observed carrying what appears to be a US Capitol Police riot shield
containing the US Capitol Police logo, as well as wearing a US Capitol Police officer’s bullet proof
vest labeled “Police”. An image captured from the video interview is provided below 1. In the
video interview “Aaron” states that he took a police riot shield that he found on floor. “Aaron”
then motioned to the police vest on his chest, in what appears to be him indicating that he also
found that item on the floor and took it into his possession. He also states that he found a hat on
the ground but he returned that item to a police officer because that might be someone’s personal
item. The police riot shield and police vest are items of value belonging to the United States,
specifically the US Capitol Police. The police vest is comprised of a carrier, body plates within
the vest, and side ballistics, with a total value of $1,905.00. The riot shield is valued at $256.65.




       On January 7, 2021, your affiant located a second article from the New York Post titled,
“NYC man who breached US Capitol is son of prominent Brooklyn judge”. The article identified
“Aaron” as Aaron Mostofsky. A search of New York State Department of Motor Vehicle images
associated with Aaron Mostofsky revealed a photograph that matched the depiction of the
individual interviewed within the US Capitol known as “Aaron”. The image from the New York
State Department of Motor Vehicles is provided below:




1
 At one point in the video interview the camera pans down to more clearly show the police riot shield, which
“Aaron” is holding up by resting the bottom of the ground. The shield clearly shows the insignia of the U.S. Capitol
Police.
         Case 1:21-mj-00034-ZMF Document 1-1 Filed 01/11/21 Page 3 of 6




        On January 7, 2021, an FBI review of social media accounts belonging to Aaron Mostofsky
identified an Instagram account “aaron_mostofsky_official” which contained videos taken both
inside and outside the US Capitol taken by a male believed to be Mostofsky. One video posted on
January 6, 2021, which appears to show Mostofsky on a bus, and appears to be a self-taken video,
was labeled “DC bound stopthesteal”.

        On January 8, 2021, a search warrant was issued by the United States District Court for the
Eastern District of New York related to the Instagram account “aaron_mostofsky_official”. The
user of the account was confirmed as Aaron Mostofsky. Review of these records show additional
posts regarding the Mostofsky presence in the US Capitol Building. In particular, the records show
that on January 7, 2021, a photo was sent to Mostofsky by another user showing him within the
US Capitol carrying a US Capitol Police riot shield containing the US Capitol Police logo, as well
as wearing a US Capitol Police officer’s bullet proof vest labeled “Police.” The photo is consistent
with images from Mostofsky’s news interview from within the U.S. Capitol, including
Mostofsky’s attire. The shared photo is shown below.
         Case 1:21-mj-00034-ZMF Document 1-1 Filed 01/11/21 Page 4 of 6




        A message was sent to Mostofsky regarding the photo saying: “Your famous.” In response,
Mostofsky, under his username aaron_mostofsky_official, stated: “IK unfortunately.” The sender
asked: “why unfortunately.” Mostofsky responded “Cause now people actually know me.”
Mostofsky in this conversation confirms that he is the person in the photo wearing and holding
property of the U.S. Capitol Police. During the same conversation Mostofsky also describes his
presence in the U.S. Capitol stating: “But it was like I’m here now how did I get there.” In a
separate post made by Mostofsky at approximately 6:09 AM on January 6, 2020, he indicates that
he is “…on this bus going to DC.” Furthermore, when trying to coordinate meeting up with a
friend within the group on January 6, 2020, Mostofsky’s message states: If we find each other look
          Case 1:21-mj-00034-ZMF Document 1-1 Filed 01/11/21 Page 5 of 6




for a guy looking like a caveman.” He later states, in a likely reference to the presidential election:
“Even a caveman knows it was stolen.”

        Further research identified a Facebook account, user ID: 763517572, believed to belong to
Aaron Mostofsky, in which Mostofsky posted the comment on November 7, 2018: “Since the
republicans lost the house I have the following questions 1 when and where are we
protesting/rioting…”

        Based on the foregoing, your affiant submits there is probable cause to believe that Aaron
Mostofsky violated 18 U.S.C. § 641, which makes it a crime for a person to embezzle, steal, purloin, or
knowingly convert to his use or the use of another, or without authority, sell, convey or dispose of any
record, voucher, money, or thing of value of the United States or of any department or agency thereof, or
any property made or being made under contract for the United States or any department or agency thereof;
or receive, conceal, or retain the same with intent to convert it to his use or gain, knowing it to have been
embezzled, stolen, purloined or converted. As the value of the thing taken is greater than $1,000, there is
probable cause to believe Aaron Mostofsky has committed a felony offense.

        Also, your affiant submits that there is probable cause to believe that Aaron Mostofsky,
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do so; (2) knowingly, and with
intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; For purposes of Section 1752 of Title 18, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service, including the Vice President,
is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.

        Finally, your affiant submits there is also probable cause to believe that Aaron Mostofsky
violated 40 U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
         Case 1:21-mj-00034-ZMF Document 1-1 Filed 01/11/21 Page 6 of 6




in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                    _________________________________
                                                    Special Agent Michael Attard
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 11th day of January 2021.


                                                                           2021.01.11
                                                                           17:00:37 -05'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE
